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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT DAYTON


 UNITED STATES OF AMERICA                     : CASE NO. 3:18-cr-158


               Plaintiff,                     : (Judge Walter H. Rice)


                                                 DEFENDANT'S MOTION INLIMINE
 NASERALMADAOJI                               : TO PRECLUDE TESTIMONY ABOUT
                                                  VIOLENCE BY TERRORIST
                   Defendant.                 : ORGANIZATIONS




       Now comes the Defendant, Naser Almadaoji, by and through undersigned counsel, and

hereby moves this Court in limine for an order excluding evidence and testimony regarding

violence perpetrated by terrorist organizations. A memorandum in support of this motion is

attached hereto.


                                          Respectfully submitted.


                                          Is/ James P. Fleisher
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                                        MEMORANDUM


       On August 18, 2021, the Government provided the Defendant with notice of its intent to

call Dr. Lorenzo Vidino as an expert witness at trial. In the substance of this notice, the

government indicated that Dr. Vidino would testify "that ISIS and ISIS Wilayat Khorasan engage

in terrorist activity, and engaged and have engaged in terrorism, and that this is widely and

commonly known. The Government anticipates he will explain what ISIS and ISIS Wilayat

Khorasan are, what they do, what they stand for, what their goals and objectives are, how they

behave and act, how they differ from,compete with,or relate to other extremist groups and entities,

the types, nature and extent of terrorist activity and terrorism they engage in, specific acts of

terrorism perpetrated by them, and how and where one joins these groups, including common

routes and methods of travel, common features, traits, and behaviors ofthose seeking to join, and

common tactics and methods used to join." See Exhibit A.attached (emphasis added).

       Testimony by Dr. Vidino or any other Government witness concerning violent or terroristic

acts perpetrated by a foreign terrorist organization generally is of very limited probative value. Its

introduction would not help the jury, would tend to confuse the issues before them, and would

unduly prejudice Mr. Almadaoji. As such, it should be excluded from evidence in this case

pursuant to Fed. R. Evid. 403.

       Evidence about terrorism and terrorist organizations "touches on very sensitive issues for

Americans" and requires "careful consideration" before being admitted. United States v. Mostafa,

16 F.Supp. 3d 236,262-63(S.D.N.Y. 2014). Given the unquestionably prejudicial nature ofsuch

evidence, Mr. Almadaoji requests this Court to exclude such evidence in its entirety. In the

alternative, the Defendant requests that the Court ensure that the Government's presentation of

such evidence is strictly limited.
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       Under Federal Rule of Evidence 403, relevant evidence is inadmissible where its

prejudicial effect substantially outweighs its probative value. "The District Court is given wide

discretion ... to exclude relevant evidence if there is a danger of unfair prejudice." United States

V. Dupuy,760 F.2d 1492,1499(9^ Cir. 1985);         also United States v. Geisen, 612 F.3d 471,495

(6th Cir.2010) citing United States v. Abel, 469 U.S. 45,54(1984).

       "[Wjhat counts as the Rule 403 'probative value' of an item of evidence . . . may be

calculated by comparing evidentiary alternative." Old Chief v. United States^ 519 U.S. 172, 184

(1997). "Ifan altemative were found to have substantially the same or greater probative value but

a lower danger of unfair prejudice, sound judicial discretion would discount the value ofthe item

first offered and exclude it if it's discounted probative value were substantially outweighed by

unfair prejudicial risk." Id. at 182-83. Thus, the District Court analyzing a Rule 403 prejudice

objection must "evaluate the degrees of probative value ... not only for the item in question but

for any actually available substitutes as well." United States v. Merino-Balderramma, 146 F.3d

758,762(9^ Cir. 1998)(quoting Old Chief 519 U.S. at 182)(quotations omitted);see also United
States V. Asher, 910 F.3d 854,861 (6th Cir. 2018)(discussing the need to consider the availability

ofevidentiary altematives under when evaluating prejudice under Rule 403).

       Considering the prejudicial nature of terrorism - related evidence, a District Court must

carefully consider the probative value ofadmitting such evidence. Courts frequently exclude such

evidence where it I not closely linked to the charged conduct. For example,in United States v. al-

Moayad, 545 F.3d 139 (2d Cir. 2008), the defendants were charged with providing material

support to Hamas. The government introduced testimony regarding a bus bombing perpetrated by

Hamas. The District Court admitted the testimony into evidence. The Second Circuit found this
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was erroneous for several reasons. First, the "defendants were not charged with planning or

carrying out the [] bus bombing" or "any other terrorist attack." 545 F.3d at 160. Although the

testimony was offered to prove that the defendants knew Hamas engaged in terrorism,they "never

denied" this knowledge, "essentially eliminating the government's burden of proof on that

element" ofthe material support charge. Id. The testimony had "considerable prejudicial effect,"

especially compared to its "questionable probative value." /c/. at 161.

       Here, Mr.Almadaoji is prepared to stipulate and agree that ISIS and ISIS Wilayat Khorasan

have been designated as foreign terrorist organizations. Testimony or other evidence regarding

violent acts committed by either ofthese groups,including but not limited to,the display ofvideos

and pictures ofatrocities, or testimony concerning such, are activities in which Mr. Almadaoji had

no involvement and as such should be excluded as unduly prejudicial evidence.



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                                CERTIFICATE OF SERVICE


        I hereby certify that on the 13**^ day of September, 2021,1 filed the foregoing document

with the Clerk of Courts, United States District Court, Southern District of Ohio, by way of the

Court's CM/ECF system which will send copies to all parties of record.


                                            /s/ James P. Fleisher
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